                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
JRS/GK/DAS                                        271 Cadman Plaza East
                                                  Brooklyn, New York 11201



                                                  February 22, 2023

By ECF

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. John Doe
                      Criminal Docket No. 23-47 (EK)

Dear Judge Komitee:

              On February 21, 2023, the defendant pleaded guilty before United States
Magistrate Judge James R. Cho. Judge Cho recommended that the Court accept the
defendant’s guilty plea. See Feb. 21, 2023 Plea Tr. 34:24-35:7. By this letter, the
government respectfully requests that the Court accept the defendant’s guilty plea. The
government has conferred with counsel for the defendant, who consent to this request.
              The government encloses a proposed order.


                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:       /s/
                                                  Jonathan Siegel
                                                  Gillian Kassner
                                                  Dylan A. Stern
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                                                  (718) 254-6293 (Siegel)

cc:    Clerk of the Court (via ECF and E-Mail)
       Defense counsel (via ECF and E-Mail)
